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 8                             UNITED STATES DISTRICT COURT
 9
          NORTHERN DISTRICT OF CALIFORNIA, SAN FRANCISCO DIVISION
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11
     SOFIE KARASEK, individually;           )   Case No.: 3:15-cv-03717-WHO
12   NICOLLETTA COMMINS, individually;      )
     ARYLE BUTLER, individually;            )   [PROPOSED] ORDER GRANTING
13                                          )
                 Plaintiffs,                )   JOINT STIPULATION FOR
                                            )   DISMISSAL WITH PREJUDICE
14
           vs.                              )
15                                          )
                                            )   Judge: Hon. William H. Orrick
16                                          )
     THE REGENTS OF THE UNIVERSITY          )
17   OF CALIFORNIA, a public entity, and    )
     DOES 1 through 100, inclusive,         )
18                                          )
                  Defendants.               )
19                                          )

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     [PROPOSED] ORDER GRANTING JOINT STIPULATION FOR DISMISSAL WITH
                              PREJUDICE
          Case 3:15-cv-03717-WHO Document 194 Filed 07/05/22 Page 2 of 2



 1
            Pursuant to the Joint Stipulation for Dismissal with Prejudice submitted by Plaintiffs
 2
     Sofie Karasek and Nicoletta Commins and Defendant Regents of the University of California,
 3
     Plaintiffs Karasek’s and Commins’s Complaints and all Claims are dismissed with prejudice.
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 5          IT IS SO ORDERED.
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 7          Dated: July 5, 2022                          ___________________________
                                                         Hon. William H. Orrick
 8                                                       Judge of the United States District Court

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      [PROPOSED] ORDER GRANTING JOINT STIPULATION FOR DISMISSAL WITH
                               PREJUDICE
